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                   UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TEXAS          FILED: 9/7/12
                          LUFKIN DIVISION           U.S. DISTRICT COURT
                                                EASTERN DISTRICT COURT
                                                 DAVID J. MALAND, CLERK
 UNITED STATES OF AMERICA         '
                                  '
                                  '
 VS.                              '       CASE NO. 9:12-CR-27(11)
                                  '
                                  '
 ELMORE THACKER                   '


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an Aadditional duty@ pursuant to

 28 U.S.C. ' 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On September 6, 2012, this case came before the undersigned magistrate judge for entry of

 a guilty plea by the Defendant, Elmore Thacker, to Count Ten (10) of the Indictment. Count ten

 alleges that on or about May 25, 2012, in the Eastern District of Texas, Elmore Thacker, defendant,

 did knowingly use or carry a firearm during and in relation to a drug trafficking crime or did

 knowingly and unlawfully possess a firearm in furtherance of a drug trafficking crime, said crime

 being possession with intent to distribute cocaine for which the defendant may be prosecuted in a

 court of the United States, and said weapon being specifically described as an Intratec 9mm Luger

 Model: Tec-DC9 bearing serial number D006557, all in violation of 18 U.S.C. §§ 924(c)(1)(A)(i)

 and 924(c)(1)(D)(i) & (ii).

        The Defendant, Elmore Thacker, entered a plea of guilty to Count Ten of the Indictment


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 into the record at the hearing.           After conducting the proceeding in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.       That the Defendant, after consultation with his attorney, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas, subject to a final approval and imposition of

 sentence by the District Court.

          b.       That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.                       The

 Defendant verified that he understood the terms of the plea agreement, agreed with the

 Government=s summary of the plea agreement, and acknowledged that it was his signature on the

 plea agreement.       To the extent the plea agreement contains recommendations and requests

 pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the court advised the Defendant that he has no right to

 withdraw the plea if the Court does not follow the particular recommendations or requests. To

 the extent that any or all of the terms of the plea agreement are pursuant to Rule 11(c)(1)(A) or

 (C), the undersigned advised the Defendant that he will have the opportunity to withdraw his

 plea of guilty should the Court not follow those particular terms of the plea agreement.1




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  A(3) Judicial Consideration of a Plea Agreement. (A) To the extent the plea agreement is of the type specified in
 Rule 11(c)(1)(A) or (C), the court may accept the agreement, reject it, or defer a decision until the court has
 reviewed the presentence report.(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the
 court must advise the defendant that the defendant has no right to withdraw the plea if the court does not follow the
 recommendation or request.(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform
 the defendant that to the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed
 disposition will be included in the judgment.(5) Rejecting a Plea Agreement. If the court rejects a plea agreement
 containing provisions of the type specified in Rule 11(c)(1)(A) or (C), the court must do the following on the record
 and in open court (or, for good cause, in camera):(A) inform the parties that the court rejects the plea agreement;(B)
 advise the defendant personally that the court is not required to follow the plea agreement and give the defendant an
 opportunity to withdraw the plea; and(C) advise the defendant personally that if the plea is not withdrawn, the court
 may dispose of the case less favorably toward the defendant than the plea agreement contemplated.@ FED. R. CRIM.
 P. 11(c)(3)-(5).


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          c.     That the Defendant is fully competent and capable of entering an informed plea,

 that the Defendant is aware of the nature of the charges and the consequences of the plea, and

 that the plea of guilty is made freely, knowingly, and voluntarily.           Upon addressing the

 Defendant personally in open court, the undersigned determines that the Defendant=s plea is

 knowing and voluntary and did not result from force, threats or promises (other than the

 promises set forth in the plea agreement).   See FED. R. CRIM. P. 11(b)(2).

          d.     That the Defendant=s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes

 that his conduct falls within the definition of the crime charged under Title 18, United States

 Code, Section 924(c), Possession of a Firearm in Furtherance of a Drug Trafficking Crime.

                                   STATEMENT OF REASONS

          As factual support for the Defendant=s guilty plea, the Government presented a factual

 basis.   See Factual Basis and Stipulation.       In support, the Government would prove that

 Elmore Thacker is the same person charged in the Indictment and that the events described in the

 Indictment occurred in the Eastern District of Texas and elsewhere. The Government would

 also have proven, beyond a reasonable doubt, each and every essential element of the offense as

 alleged in Count Ten of the Indictment through the testimony of witnesses, including expert

 witnesses, and admissible exhibits.       In support of the Defendant=s plea, the undersigned

 incorporates the proffer of evidence described in detail in the factual basis and stipulation filed in

 support of the plea agreement, and the Defendant=s admissions made in open court in response to

 the undersigned=s further inquiry into the factual basis and stipulation.

          The Defendant agreed with and stipulated to the evidence presented in the factual basis.

 Counsel for the Defendant and the Government attested to the Defendant=s competency and

 capability to enter an informed plea of guilty.        The Defendant agreed with the evidence

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 presented by the Government and personally testified that he was entering his guilty plea

 knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Ten of the Indictment.            It is also recommended that

 the District Court defer accepting the plea agreement until the District Court has reviewed the

 presentence report.    Accordingly, it is further recommended that the District Court finally

 adjudge the Defendant, Elmore Thacker, guilty of the charged offense under Title 18, United

 States Code, Section 924(c).

        The District Court should defer its decision to accept or reject the plea agreement until

 there has been an opportunity to review the presentence report.               If the plea agreement is

 rejected and the Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to the Defendant than that contemplated by the plea agreement.              The Defendant is

 ordered to report to the United States Probation Department for the preparation of a presentence

 report. The Defendant has the right to allocute before the District Court before imposition of

 sentence.   It is recommended that the Court ORDER the Defendant=s attorney to read and

 discuss the presentence report with the Defendant, and to file any objections to the report

 BEFORE the date of the sentencing hearing.

                                           OBJECTIONS

        Objections to this report must be:     (1) specific, (2) in writing, and (3) served and filed

 within fourteen (14) days after being served with a copy of this report.              See 28 U.S.C. '

 636(b)(1); Fed. R. Civ. P. 1(a), 6(b), and 72(b).       A party=s failure to object bars that party from:

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 (1) entitlement to de novo review by a district judge of proposed findings and recommendations,

 see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and (2) appellate review, except

 on grounds of plain error of unobjected-to factual findings and legal conclusions accepted by the

 district court, see Douglass v. United Servs. Auto. Ass=n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en

 banc). The constitutional safeguards afforded by Congress and the courts require that, when a

 party takes advantage of his right to object to a magistrate=s findings or recommendation, a

 district judge must exercise its nondelegable authority by considering the actual evidence and not

 merely by reviewing and blindly adopting the magistrate=s report and recommendation.          See

 Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357,

 359 (5th Cir. 1981) (per curiam).



         SIGNED this 7th day of September, 2012.




                                                     _________________________
                                                     Zack Hawthorn
                                                     United States Magistrate Judge




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